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          WILLIAM LEE GRANT II

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          .4 Complaint pertaining to civil rights                       )
              violations against William Lee Grant II
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                                            COMPLAINT OF CIVIL RIGHTS VIOLATON~ f11YJ /i:N\). !jY.
              William Lee Grant II filed for Federal Unemployment Benefits with the Illinois Department of
              Employment Security (IDES) in December of2014. William Lee Grant II was denied Federal
              Unemployment Benefits by IDES as retaliation for filing a civil rights complaint with the Illinois
              Department of Transportation, and an ethics complaint with the Office of Executive Inspector General in
              2012,

              William Lee Grant II qualified for Federal Unemployment Benefits pursuant to 820 ILCS 405/601 (B).

              Petitioner is owed for unpaid Federal Unemployment Benefits, and the sum repaid to IDES as restitution
              when William Lee Grant II was denied Federal Unemployment Benefits.

              The Office of Executive Inspector General and IDES have refused to investigate this matter.

              The illinois Attorney General and U.S. Department of Justice do not deny the allegations.
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